          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 1 of 11




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

IN RE:                            |
                                  |
NEIGHBORS LEGACY HOLDINGS, INC., |                                            CASE NO. 18-33836-H1-11
                                  |                                           Chapter 11
      Debtor                      |
                                  |
MARK SHAPIRO, TRUSTEE             |
OF THE UNSECURED CREDITOR TRUST |
OF NEIGHBORS LEGACY HOLDINGS,     |
INC. AND ITS DEBTOR AFFILIATES,   |
      Plaintiff                   |
                                  |
VS.                               |                                           ADV. NO. 20-03016
                                  |
TOM VO, ET AL.,                   |                                           JURY DEMANDED
      Defendants                  |


                    FIRST AMENDED ORIGINAL ANSWER OF DEFENDANT
                       BANKYMED EMERGENCY MANAGEMENT PLLC


TO THE HONORABLE MARVIN ISGUR UNITED STATES BANKRUPTCY JUDGE:

         Comes now Bankymed Emergency Management PLLC, a professional limited liability

company chartered and existing under the laws of the State of Texas (“Bankymed”), formerly

known as Bankymed Emergency Management LLC, one of the Defendants in the above

numbered and titled Adversary Proceeding, and for answer to the Plaintiff's Third Amended

Complaint (doc 94, the "Complaint") filed by Mark Shapiro, Trustee of the Unsecured Creditor

Trust of Neighbors Legacy Holdings, Inc. and its Debtor Affiliates (the "Trustee"), Bankymed

respectfully represents:




First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 1
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 2 of 11




                                                        Summary

         The Trustee has abandoned claims that the transfers were made
         with actual intent to hinder, delay, or defraud creditors.

         Bankymed was an innocent investor who invested $75,000 to
         purchase a three percent class B limited partnership interest in
         NEC Port Arthur Emergency Center, LP.

         Bankymed received distributions from NEC Port Arthur
         Emergency Center, LP during 2016 and 2017 which totaled
         $61,780.68.

         NEC Port Arthur Emergency Center, LP was not insolvent.

         NEC Port Arthur Emergency Center, LP Received Reasonably
         Equivalent Value.

         Bankymed is a good faith transferee for value.

         Bankymed was entitled to rely upon the financial statements of
         NEC Port Arthur Emergency Center, LP in good faith, and did
         not know, and had no reason to know, whether NEC Port Arthur
         Emergency Center, LP had or may have incurred or guaranteed
         any loans from Key Bank to other debtor entities, or that any
         such debt was not disclosed in the financial statements of NEC
         Port Arthur Emergency Center, LP.

         If the Trustee’s allegations are true, then Bankymed is the victim
         of fraud, and Bankymed owns a claim against NEC Port Arthur
         Emergency Center, LP for loss of its investment fraudulently
         obtained, which it may set off against the disbursements received,
         up to the amount of its investment.

         The Trustee’s claims are barred by the statutes of limitations.




First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 2
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 3 of 11




                   Response to the Trustee’s Allegations of Jurisdiction and Venue

         1. Bankymed admits paragraphs 1 through 6 of the Complaint and agrees that this Court

has jurisdiction and venue to consider the Complaint as to Bankymed. Bankymed consents to

the entry of final orders or judgment by this honorable Court pursuant to BLR 7008-1 and 7012-

1. Bankymed does not know whether the Court has jurisdiction or venue to consider the

Complaint as to Defendants other than Bankymed.

                                          Response to the List of Parties

         2. Bankymed admits the allegation of paragraph 7 of the Complaint that the Plaintiff,

Mark Shapiro, is the Trustee of the Unsecured Creditor Trust (the "Trust") of Neighbors Legacy

Holdings, Inc., and its affiliates (the "Debtors").

         3. Bankymed denies the allegation of paragraph 39 of the Complaint which alleges that

Bankymed’s name is Bankymed Emergency Management, LLC and that it is a Texas limited

liability company. The correct name is Bankymed Emergency Management PLLC, and it is a

Texas professional limited liability company.

         4. Bankymed does not have knowledge about and is not able to either admit or deny the

allegations of paragraphs 8 through 38 and 40 through 57 of the Complaint. Bankymed does not

know the correct names and identity of the other defendants named in the Complaint.

                                   Response to Trustee’s Background Facts

         5. Bankymed does not have knowledge about and is not able to either admit or deny the

allegations of paragraphs 58 through 62 of the Complaint concerning the bankruptcy cases of the

Neighbors Debtor Entities, the Chapter 11 Plan, or the creation of the Unsecured Creditor Trust.




First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 3
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 4 of 11




                     Response to Trustee’s Allegations of Transfers to Defendants

         6. Bankymed denies the allegations of paragraphs 63 through 73 of the Complaint and

demands strict proof thereof.

         7. Bankymed denies that it received the payments alleged in the Complaint and Exhibit

A to the Third Amended Complaint to have been made to Bankymed.

         8. Bankymed did not receive any payments or transfers from any of the debtor entities

except for only from NEC Port Arthur Emergency Center, LP.

         9. Bankymed denies that NEC Port Arthur Emergency Center, LP was insolvent on the

dates of the distributions to Bankymed.

                        Response to the Trustee’s Claims and Causes of Action
                             For Alleged Receipt of Fraudulent Transfers
                            Under Bankruptcy Code Sections 548 and 550
                       And Texas Business and Commerce Code Section 24.006.

         10. Bankymed denies the allegations of paragraphs 74 through 82 of the Complaint as

they concern Bankymed, and demands strict proof thereof.

         The Trustee has abandoned claims that the transfers were made
         with actual intent to defraud creditors.
         11. The Trustee’s Third Amended Complaint omitted the theory that the transfers were

made by the Debtors with actual intent to hinder, delay, or defraud creditors, and instead the

Trustee alleges only that the Debtors who made the transfers were insolvent on the dates of the

transfers, and received less than reasonably equivalent value for the transfers. The Trustee

omitted claims and causes of action under Bankruptcy Code Section 548(a)(1)(A) and Texas

Business and Commerce Code Section 24.005, previously alleged, from the Trustee’s Third

Amended Complaint.




First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 4
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 5 of 11




         Bankymed was an innocent investor who invested $75,000 to
         purchase a three percent class B limited partnership interest in
         NEC Port Arthur Emergency Center, LP.
         12. Bankymed was an innocent investor in NEC Port Arthur Emergency Center, L.P.

and owned only a 3% class B limited partnership interest in NEC Port Arthur Emergency Center,

LP. Bankymed invested $75,000.00 to purchase a 3% limited partnership interest in NEC Port

Arthur Emergency Center, L.P. This is proved by Bankymed Exhibit 1 – Investor Share Form

and Bankymed Exhibit 2 – Payments to NEC Port Arthur Emergency Clinic, LP which are

attached hereto. Bankymed did not participate in the management of NEC Port Arthur

Emergency Center, LP, or any other debtor entity. Bankymed did not own an interest in any

other of the debtor entities except only NEC Port Arthur Emergency Clinic, LP.

         Bankymed received distributions from NEC Port Arthur
         Emergency Center, LP during 2016 and 2017 which totaled
         $61,780.68.
         13. Bankymed received distributions from NEC Port Arthur Emergency Clinic, LP

during the years 2016 and 2017 which totaled the sum of $61,780.68. This is proved by

Bankymed Exhibit 3 – Payments Received From NEC Port Arthur Emergency Center, LP,

attached hereto. Bankymed did not receive any payments or transfers from any of the debtor

entities except only from NEC Port Arthur Emergency Center, L.P.

               NEC Port Arthur Emergency Center, LP was not insolvent.
         14. On the dates of the payments to Bankymed, and at all relevant times, NEC Port

Arthur Emergency Center, LP was not insolvent, and did not become insolvent as a result of any

of the payments to Bankymed. This is proved by the financial statements of NEC Port Arthur

Emergency Center, LP attached hereto and marked Bankymed Exhibit 4 – Financial Statements




First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 5
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 6 of 11




of NEC Port Arthur Emergency Center, LP. Bankymed is not liable to the Trustee under 11

U.S.C. Section 548(a)(1)(B)(ii), or Texas Bus. & Comm. Code Section 24.006.

         NEC Port Arthur Emergency Center, LP Received Reasonably
         Equivalent Value.
         15. The total of all payments received by Bankymed from NEC Port Arthur, LP. is less

than the amount which Bankymed paid to purchase its limited partnership interest. This is

proved by Bankymed Exhibit 5 – Summary, attached hereto.

         16. NEC Port Arthur Emergency Center, LP received reasonably equivalent value in

exchange for the distributions to Bankymed. Bankymed invested $75,000.00 to purchase a 3

percent limited partnership interest in NEC Port Arthur Emergency Center, LP. Bankymed's

capital contribution is “value” as defined in Tex. Bus. Comm. Code § 24.004(a) and is

"reasonably equivalent value" as defined in Tex. Bus. Comm. Code § 24.004(d). The amount

invested is greater than the amount of all payments from NEC Port Arthur Emergency Center,

LP to Bankymed, and Bankymed is not liable to the Trustee under Bankruptcy Code Section

548(a)(1)(B)(i) or Tex. Bus. & Comm. Code Section 24.006.

         17. NEC Port Arthur Emergency Center, L.P. is a pass through entity for federal income

taxes, and did not pay taxes on its income directly to the United States Treasury. The federal

income tax liability of NEC Port Arthur Emergency Center, L.P. was passed through to the

limited partners in proportion to each partners’ share of ownership of the limited partnership, and

reported on K-1 statements to the individual partners. The money paid by NEC Port Arthur

Emergency Center, L.P. to its limited partners was for the purpose and in amounts to enable each

partner to pay its share of the partnership’s federal income tax liability (the “Tax Distributions”).

Bankymed paid its share of the federal income tax liability of NEC Port Arthur Emergency

Center, LP to the United States Treasury with Bankymed’s federal income tax returns.

First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 6
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 7 of 11




Bankymed’s share of the federal income tax liability of NEC Port Arthur Emergency Center,

L.P. is value and reasonably equivalent value for the amounts of the Tax Distributions which

Bankymed received.

         Bankymed is a Good Faith Transferee for Value.

         18. Bankruptcy Code Section 548(c) provides that a transferee or oblige of such a

transfer or obligation that takes for value and in good faith has a lien on or may retain any

interest transferred or may enforce any obligation incurred, as the case may be to the extent that

such transferee or oblige gave value to the debtor in exchange for such transfer or obligation.

         19. Bankruptcy Code Section 550(b) provides that the trustee may not recover under

section (a)(2) of Section 550 from a transferee that takes for value, including satisfaction or

securing of a present or antecedent debt, in good faith, and without knowledge of the voidability

of the transfer avoided.

         20. Bankymed gave value in the amount of $75,000.00 to NEC Port Arthur Emergency

Center, LP to purchase a 3 percent class B limited partnership interest in NEC Port Arthur

Emergency Center, in good faith, and without knowledge that NEC Port Arthur Emergency

Center, LP guaranteed any debts or loans made by Key Bank to other Debtor entities or was not

a solvent entity. Bankymed was entitled to rely upon and did rely upon the truth of financial

statements prepared by and furnished to Bankymed by and for NEC Port Arthur Emergency

Center, LP, which showed that, at all material times, NEC Port Arthur Emergency Center, LP

was solvent, that the value of its assets were greater than the sum of its debts, and that the

amount of its income was greater than the amount of its expenses, and Bankymed acted in good

faith in relying upon the financial statements of NEC Port Arthur Emergency Center, LP, at the

time the distributions were made.


First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 7
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 8 of 11




         21. The total amount of distributions, which Bankymed received from NEC Port Arthur

Emergency Center, LP, totaled $61,780.68, and was less than in the amount of $75,000.00 that

Bankymed invested to purchase a 3 percent limited partnership interest in NEC Port Arthur

Emergency Center, LP.

         22. In addition, the distributions were made to enable Bankymed, and other limited

partners, to be able to pay their proportionate share of the federal income tax liability of NEC

Port Arthur Emergency Center, LP (the Tax Distributions). Bankymed paid its proportionate

share of federal income taxes based upon income of NEC Port Arthur Emergency Center, LP for

the years in which the Tax Distributions were made, which is value and reasonably equivalent

value, for the Tax Distributions. Such Tax Distributions are not avoidable by the Trustee.

         Bankymed was entitled to rely upon the financial statements of
         NEC Port Arthur Emergency Center, LP in good faith, and did
         not know, and had no reason to know, whether NEC Port Arthur
         Emergency Center, LP had or may have incurred or guaranteed
         any loans from Key Bank to other debtor entities, or that any
         such debt was not disclosed in the financial statements of NEC
         Port Arthur Emergency Center, LP.
         23. Bankymed was entitled to rely upon the financial statements of NEC Port Arthur

Emergency Center, LP, in good faith. The financial statements were prepared by the accounting

firm of Briggs & Veselca Co., and Bankymed in good faith believed that the financial statements

were true and correct. Bankymed was a limited partner and did not participate in the

management or financial affairs of NEC Port Arthur Emergency Center, LP. Bankymed did not

know, and had no reason to know whether NEC Port Arthur Emergency Center, LP had or may

have incurred or guaranteed any loans from Key Bank to other debtor entities, or that any such

guaranteed debt was not disclosed in the Financial Statements.




First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 8
          Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 9 of 11




         If the Trustee’s allegations are true, then Bankymed is the victim
         of fraud, and Bankymed owns a claim against NEC Port Arthur
         Emergency Center, LP for loss of its investment fraudulently
         obtained, which it may set off against the disbursements received,
         up to the amount of its investment.
         24. If there is any truth to the Trustee’s allegations that NEC Port Arthur Emergency

Center, LP guaranteed massive indebtedness incurred by other debtor entities to obtain loans

from Key Bank, which was not disclosed in the financial statements of NEC Port Arthur

Emergency Center, LP., then Bankymed is the victim of fraud, and Bankymed owns a claim

against NEC Port Arthur Emergency Center, LP for loss of its investment fraudulently obtained

in the amount of $75,000.00.

         25. Where fraud is involved, an equity investor gives value in exchange for return of

principal, and the investor has a fraud claim against the debtor in the principal amount of the

investment, and affords a defense to the investor for recovery of distributions received from the

debtor, up to the amount of the lost investment. Perkins v. Haines, 660 F.3d 623 (11th Cir.

2011); In re API Holdings, 525 F.3d 700 (9thCir. 2008); In re Bernard L. Madoff Investment

Securities LLC, No.19-0426-bk(L), (2nd Cir., September 24, 2020).

         The Trustee’s claims are barred by the statutes of limitations.

         26. The Trustee's claims against Bankymed under Bankruptcy Code Sections 548 and

550 are barred by the applicable statutes of limitations. The transfers alleged to have been made

to Bankymed allegedly took place more than two years before the date on which the Debtors'

petitions were filed, and the Trustee's claims against Bankymed under Sections 548 and 550 of

the Bankruptcy Code are barred by the two year statute of limitations of 11 U.S.C. 548(a)(1).

         27. The Trustee's claims against Bankymed under Tex. Bus & Comm. Code § 24.006(b)

are barred by the statute of limitations. For transfers to an insider which are sought to be avoided

First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 9
         Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 10 of 11




under § 24.006 (b), the statute of limitations is one year after the transfer is made. Bankymed

did not receive any payments or transfers from NEC Port Arthur Emergency Center LP within

one year before the date of the Debtors’ petitions, and the Trustee’s claims are barred by the one

year statute of limitations of Tex. Bus. & Comm. Code Section 24.010(a)(3).

                                                 COUNTER CLAIM

         28. The Trustee’s claims against Bankymed are without merit. Bankymed is entitled to

recover its reasonable attorney’s fees for defending this Complaint from the Plaintiff, the Trustee

of the Unsecured Creditor Trust of Neighbors Legacy Holdings, Inc. and its Debtor Affiliates,

pursuant to Tex. Bus. & Comm. Code § 24.013. A reasonable attorney’s fee for Bankymed for

the services of its attorneys is the sum of at least $30,000.

                                                        PRAYER

         Wherefore, premises considered, Defendant Bankymed Emergency Management PLLC

prays that the Trustee take nothing from Bankymed, and that Bankymed recover its costs and

reasonable attorney’s fees from the Plaintiff, the Trustee of the Unsecured Creditor Trust of

Neighbors Legacy Holdings, Inc. and its Debtor Affiliates, and for such and further relief to

which Bankymed may show itself to be justly entitled.

                                                          Respectfully submitted,

                                                          ROSS, BANKS, MAY, CRON & CAVIN, P.C.

                                                          By:
                                                          John Mayer
                                                          Texas Bar Number 13274500
                                                          Southern District Number 502092
                                                          7700 San Felipe, Suite 550
                                                          Houston, Texas 77063
                                                          Phone 713-626-1200
                                                          Email jmayer@rossbanks.com
                                                          Attorney for Defendant
                                                          Bankymed Emergency Management PLLC

First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 10
         Case 20-03016 Document 98 Filed in TXSB on 12/29/20 Page 11 of 11




                                         CERTIFICATE OF SERVICE

        I certify that true copies of this answer were served upon the Trustee by email to the
Trustee’s attorney of record Clifford Walston of the law firm of Walston Bowlin, LLP, to email
address cliff@walstonbowlin.com, and on all persons who have entered an appearance in this
case electronically by means of the Court’s CM/ECF System contemporaneously with filing.
This service was completed on December 29, 2020..

                                                          .
                                                          John Mayer




First Amended Original Answer of Defendant Bankymed Emergency Management PLLC – Page 11
